 Case 1:19-cv-00985-JTN-PJG ECF No. 20 filed 05/22/20 PageID.145 Page 1 of 2



                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

MIKE KOWALL, ROGER KAHN, PAUL
OPSOMMER, JOSEPH HAVEMAN,
DAVID E. NATHAN, SCOTT DIANDA,
CLARK HARDER, MARY VALENTINE,                  No. 1:19-cv-00985
DOUGLAS SPADE and MARK
MEADOWS,                                       HON. JANET T. NEFF

       Plaintiffs,                             MAG. PHILLIP J. GREEN

v

JOCELYN BENSON, in her official
capacity as Secretary of State,

       Defendant.

John J. Bursch (P57679)                        Charles R. Spies (P83260)
Attorney for Plaintiffs                        Ariana D. Pellegrino (P79104)
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                                               313.223.3500
Heather S. Meingast (P55439)
Erik A. Grill (P64713)                         Christopher M. Trebilcock (P62101)
Assistant Attorneys General                    Attorney for Plaintiffs
Attorneys for Defendant                        500 Woodward Ave, Ste 3500
P.O. Box 30736                                 Detroit, MI 48226
Lansing, Michigan 48909                        313.965.8300
517.335.7659
                                         /

    STIPULATED ORDER EXTENDING TIME FOR THE PARTIES TO FILE
                RESPONSE, REPLY AND SUR-REPLY

       The parties hereby stipulate and agree to a 14 day extension for the parties

to file their response, reply and sur-reply:
 Case 1:19-cv-00985-JTN-PJG ECF No. 20 filed 05/22/20 PageID.146 Page 2 of 2



      IT IS HEREBY ORDERED that Defendant’s response to Plaintiff’s motion

for summary judgment is extended to June 8, 2020, Plaintiffs’ reply to Defendant’s

response is due June 22, 2020, and Defendant’s sur-reply is due July 6, 2020.



Date: ___________                __________________________________________
                                 HON. JANET T. NEFF
                                 District Court Judge

The parties, through their respective counsel, stipulate to the entry of the above
order.

s/John J. Bursch (w/consent)                  Dated: May 22, 2020
John J. Bursch (P57679)
Attorney for Plaintiffs
9339 Cherry Valley Ave, SE, #78
Caledonia, MI 48316
616.450.4235

s/Erik A. Grill                               Dated: May 22, 2020
Erik A. Grill (P64713)
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